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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

ROBERT CLARK            *   CIVIL ACTION
                        *
                        *   NO.: 3:19-cv-00512-BAJ-RLB
                        *
VERSUS                  *   JUDGE BRIAN A. JACKSON
                        *
                        *   MAGISTRATE JUDGE
JAMES LEBLANC, ET AL.   *   RICHARD L. BOURGEOIS
****************************************************

                  RESPONSE TO PLAINTIFF’S REQUEST FOR
                       PRELIMINARY INJUNCTION
       NOW INTO COURT, through undersigned counsel, comes James Leblanc and Warden

Vannoy, who make this limited appearance and file this response to plaintiff’s request for

preliminary injunction.

       Plaintiff, a transgender inmate housed at Angola, filed this instant suit on August 7, 2019.

R.Doc. 1. To date, no defendant has been served with the complaint. On the same day suit was

filed, plaintiff filed a temporary restraining order and preliminary injunction. R.Doc. 2. On

September 26, 2019, plaintiff filed a request for an emergency temporary restraining order seeking

an order regarding the grooming policy at Angola. R.Doc. 10. On October 10, 2019, the Court

granted the temporary restraining order, ordering that plaintiff’s hair shall not be cut during the

pendency of the order, and set a hearing for October 22, 2019 regarding whether the TRO should

be converted into a preliminary injunction. R.Doc. 11. Counsel for DOC attended the hearing, and

this Court ordered for DOC to provide a response to the request for a preliminary injunction by

October 31, 2019. Defendants make this limited appearance in compliance with this Court’s order,

and reserve the right to present all pertinent defenses in responsive pleadings after service is

perfected.


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         Plaintiff seeks a preliminary injunction for the following: (1) ordering defendants to

provide hormone therapy, and express female gender through grooming; (2) ordering defendants

to provide female canteen products; (3) ordering defendants to remove cameras from LSP

dormitory showers; (4) only allow female staff to strip search plaintiff; (5) investigate PREA

violation allegations; and (6) not retaliate against plaintiff.

         Plaintiff’s request for a preliminary injunction should be denied. Only a qualified

endocrinologist can determine whether hormone therapy is appropriate for a patient, given the

wide range of potential serious side effects. Defendants are in the process of finalizing a contract

with a qualified endocrinologist to see plaintiff and evaluate whether hormone therapy is

appropriate for plaintiff. Defendants will ensure that plaintiff receives the treatment that the

endocrinologist recommends. Requiring defendants to provide a treatment that has not been

recommended by a qualified physician at this time runs afoul of the deliberate indifference

standard. Regarding the other requests, plaintiff failed to meet the burden of proof required to

obtain a preliminary injunction, and the requests should be denied.

    I.      Preliminary Injunction

    In order to obtain a preliminary injunction, plaintiff must show all of the following: (1) a

substantial likelihood exists that plaintiff will succeed on the merits of the claim; (2) a substantial

threat of irreparable harm exists if the injunction is not granted; (3) the threatened injury outweighs

any harm to the defendants if the injunction is granted; and (4) the injunction will not undermine

the public interest. See Valley v. Rapides Parish School Board, 118 F.3d 1047, 1051 (5th Cir.

1997). “[A] preliminary injunction is an extraordinary remedy which should not be granted unless

the party seeking it has ‘clearly carried the burden of persuasion’ on all four requirements.” Lake

Charles Diesel, Inc. v. General Motors Corp., 328 F.3d 192, 196 (5th Cir. 2003). Further, a



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plaintiff seeking injunctive relief “must satisfy the court that relief is needed.” United States v.

W.T. Grant Co., 345 U.S. 629, 633, 73 S.Ct. 894, 97 L.Ed. 1303 (1953). To meet this standard, a

plaintiff must demonstrate “that there exists some cognizable danger of recurrent violation,

something more than the mere possibility which serves to keep the case alive.” Id. at 633. If no

such relief is needed, the request for an injunction is moot.

   II.      Injunction Requests

   1. Request for hormone therapy and grooming

         A. Hormone therapy

         DOC Health Care Policy No. 47, which was revised in March 2019, governs treatment for

inmates diagnosed with gender dysphoria, and provides that a treatment plan will be formulated to

meet the standard of care. DOC has around 40 transgender inmates in its custody across all

facilities. DOC has a team that assesses each transgender inmate and their treatment plan quarterly.

Due to numerous requests for hormone therapy, DOC began to explore options to contract with an

outside specialist. Hormone therapy has potential serious side effects, which include stroke, blood

clots, brain tumors and cancer. Thus, a qualified specialist is required to determine whether

hormone therapy is appropriate. Many of the physicians at each institution are not qualified to

provide hormone therapy, nor provide the appropriate follow-up care.

         Even before this suit was filed, DOC began searching for an outside physician to evaluate

transgender inmates across all facilities. In July 2019, DOC met with Dr. Warren Fraser, who

eventually agreed to evaluate transgender inmates in DOC custody. Since July, DOC has been

working to prepare and finalize the contract with Dr. Fraser. As of the date of this filing, DOC is

awaiting Dr. Fraser to complete his vendor profile so that the contract can be sent to the Office of




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State Procurement for final approval. DOC anticipates the contract being finalized by the end of

2019.

        Regarding the instant matter, plaintiff was admittedly treated for gender dysphoria through

counseling from 2016 through present. Once plaintiff’s mental health provider at Angola, Dr.

Gamble, recommended plaintiff be evaluated for hormone therapy, Dr. Lavespere began taking

steps to provide that treatment. As recognized in the Standards of Care for Health of Transsexual,

Transgender and Gender Nonconforming People cited by plaintiff, a “specialized provider” is

required to provide hormone therapy. R.Doc. 3-5, p. 29. Because neither Dr. Lavespere, nor any

other Angola physicians, are trained in hormone therapy for transgender patients, defendants are

awaiting Dr. Fraser’s contract to be finalized before plaintiff can be evaluated for hormone therapy.

If or when Dr. Fraser recommends hormone therapy, defendants will authorize the recommended

treatment.

        Plaintiff’s request for an injunction ordering defendants to provide hormone therapy should

be denied. It is well settled that “the question of whether ... additional ... forms of treatment is

indicated is a classic example of a matter for medical judgment.” Estelle v. Gamble, 429 U.S. 97,

107 (1976). Generally, such matters of professional medical judgment are better left to the

expertise of medical professionals rather than to the legal expertise of judges. Federal courts are

therefore loath to second-guess such medical decisions in federal civil rights actions. Westlake v.

Lucas, 537 F.2d 857, 860 n. 5 (6th Cir.1976). At this time, no qualified physician has

recommended hormone therapy treatment or made a determination that the treatment is medically

necessary or appropriate for this particular inmate. Defendants are working diligently to finalize

the contract with Dr. Fraser to have plaintiff evaluated. However, ordering defendants to provide




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a specific treatment that has not been recommended by a qualified physician at this time is

improper under a deliberate indifference standard.

       B. Grooming

   Defendants will maintain the status quo in accordance with R.Doc. 11. However, given that

plaintiff will treat with the endocrinologist, defendants aver that plaintiff has not shown that the

requested grooming falls within the “standard of care” set forth in the motion. Thus, the request

for a preliminary injunction should be denied.

   2. Female Canteen Purchases

   Plaintiff’s request to purchase female canteen items is vague and therefore defendants cannot

assess this request. Plaintiff has not identified what types of “female canteen items” are requested.

Therefore, the Court cannot assess whether a substantial threat of harm exists, whether defendants

will have to make available specific canteen items only for plaintiff, what monetary costs will be

incurred and whether the request affects public interests. As such, the preliminary injunction

should be denied. In the alternative, defendants request a hearing to address specific items

requested.

   3. Removing Cameras from Shower Areas in LSP dormitories

   Plaintiff is now housed in Close Cell Restriction unit (CCR) as a result of plaintiff’s deadly

altercation with another inmate. Thus, plaintiff no longer showers in the LSP dormitories, and

uses the individual shower in the CCR unit. As such, plaintiff’s request for an injunction is moot.

   4. Only allow female staff to strip search plaintiff

   Plaintiff has not shown that a threat of irreparable harm exists if plaintiff is searched by male

staff. HC Policy 47 does not provide that female staff shall search a transgender inmate. No

evidence was presented with plaintiff’s motion regarding searches by male staff. Therefore, the



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Court cannot assess whether a substantial threat of harm exists, whether defendants will suffer

harm by making female staff available any time plaintiff is to be searched, what monetary costs

will be incurred and whether the request affects public interests, including the security issues that

arise from this request. As such, the preliminary injunction should be denied. In the alternative,

defendants request a hearing to present evidence as to the issues that would arise in requiring

female staff to search plaintiff.

    5. Retaliation

    Plaintiff has submitted no evidence to support an injunction against retaliation. Defendants

have not, and will not, retaliate against plaintiff for seeking legal redress. As such, this request

should be denied.

    III.    Conclusion

    Defendants are diligently working to contract with an outside endocrinologist to evaluate

plaintiff for hormone therapy. Once the contract is approved, defendants will schedule an

appointment with Dr. Fraser. Regarding plaintiff’s other requests, defendants submit that plaintiff

failed to show that the vague requests meet the alleged standard of care. In the alterative,

defendants request a hearing to fully address and put on evidence as to each request.




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                                            Respectfully submitted,

                                            JEFF LANDRY
                                            Attorney General

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                             CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that I have this date electronically filed the foregoing with the Clerk

of Court by utilizing the CM/ECF system, and a copy of the above and foregoing was this day

forwarded by the Court’s ECF Delivery System to all counsel of record and by United States Mail

to the pro se plaintiff.

        Baton Rouge, Louisiana, this 31st day of October, 2019.

                                            s/Andrew Blanchfield
                                            Andrew Blanchfield




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